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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

    KIRSCH RESEARCH AND
    DEVELOPMENT, LLC,

                 Plaintiff,                               Civil No. 6:20-cv-00317-ADA

          v.                                              JURY TRIAL DEMANDED

    IKO INDUSTRIES, INC.;                                        PATENT CASE
    IKO INDUSTRIES LTD.,

                 Defendants.


        DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY RE CLAIM
          CONSTRUCTION AND IN SUPPORT OF ITS PENDING MOTIONS

         Pursuant to the Court’s Order Governing Proceedings in Patent Cases, Defendants IKO

Industries, Inc. and IKO Industries LTD (“Defendants”) respectfully submit this Notice of

Supplemental Authority relevant to the construction of disputed terms of U.S. Patent No.

6,308,482 (the “’482 Patent”) and regarding two of Defendants’ motions pending before the Court.

An EDTX Court Has Issued a Markman Order Regarding the ’482 Patent

         On July 19, 2021, Judge Schroeder in the Eastern District of Texas, Texarkana Division,

issued an Order construing disputed terms of the ’482 Patent. Kirsch Research and Development,

LLC v. DuPont de Nemours, Inc. et al., No. 5:20-CV-00057-RWS (E.D. Tex.), Dkt. 276. The

authority is attached as Exhibit A to this Notice.1 The Order construes the disputed terms as


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  A Notice of Supplemental Authority is procedurally proper because the Court held a Markman
hearing on April 29, 2021, but no claim construction order has been issued in this case or any case
involving the ’482 Patent. Moreover, the Court’s July 19, 2021, order in the related BlueLinx
matter suggests that it is still in the pre-Markman phase. See Exhibit B at 8 (denying BlueLinx’s
direct infringement challenge as “untimely” because “BlueLinx asks the Court to engage in pre-
Markman claim construction and resolve that construction in its favor, this is premature.”). To the
extent the Court determines that claim construction in IKO’s case is post-Markman, Defendants
reserve the right to file a Motion for Reconsideration.
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follows:

       ’482 Patent Claim Term                                  Construction
 Preamble: “A roofing underlayment         The entire preamble of claim 1 of the ’482 patent is
 positioned between a roof support         limiting.
 structure and an overlayment”
                                           (Dkt. 276, at 44)
 “waterproofing” / “waterproof”            “preventing liquid water from passing through” /
                                           “prevents liquid water from passing through”

                                           (Dkt. 276, at 48)
 “weather-resistant barrier”               “barrier for preventing liquid water and other external
                                           weather elements from passing through”

                                           (Dkt. 276, at 54)
 “cross-laminated strands”                 “strands bonded together where some of the strands
                                           are oriented at right angles to other strands”

                                           (Dkt. 276, at 58)
 “slip-resistant material”                 “polypropylene or similar material that provides slip-
                                           resistance in wet or dry conditions”

                                           (Dkt. 276, at 62)
 “by extrusion lamination”                 “by being melted in an extruder, and forced onto the
                                           reinforcing scrim through a die of the extruder”

                                       (Dkt. 276, at 67)
 “the thermoplastic layer may include “the thermoplastic layer includes at least polyethylene
 polyethylene or polypropylene” / “the or polypropylene” / “the thermoplastic layers includes
 thermoplastic layers may include      at least polyethylene or polypropylene”
 polyethylene or polypropylene”
                                       (Dkt. 276, at 70)

The Court Granted Defendant BlueLinx’s Motion to Dismiss Kirsch’s Induced and Willful
infringement Claims

       This Court recently granted Defendant BlueLinx Corporation’s motion to dismiss Kirsch’s

claims of induced and willful infringement under Rule 12(b)(6). Kirsch Research and

Development, LLC v. BlueLinx Corporation, No. 6:20-cv-00316-ADA (W.D. Tex.), Dkt. No. 68

at 8. The authority is attached as Exhibit B to this Notice.




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       Defendants in this case filed a substantively identical motion to dismiss pursuant to Rule

12(b)(6) on September 17, 2020, which they renewed on October 15, 2020. See Dkt. Nos. 19, 30,

35, 37. Defendants’ motion remains unresolved.

Four Petitions for IPR Have Been Filed Against the Patent-in-Suit

       Two additional petitions for Inter Partes Review (“IPR”) have been filed against the

expired asserted patent in this case—U.S. Patent No. 6,308,482 (the “’482 Patent”)—both of which

Kirsch failed to bring the attention of the Court as required by this Court’s Order Governing Patent

Proceedings. See OGP, Version 3.4, General Issues, ¶ 5. On June 24, 2021, Petitioner Atlas

Roofing Corporation filed a petition in IPR2021-01181. Also on June 24, 2021, Petitioner Epilay,

Inc. filed a petition in IPR2021-01183.

       There are now two instituted IPRs and two petitions for IPR pending against the ’482

Patent. One of the instituted IPRs is statutorily required to result in a Final Written Decision before

the scheduled trial date of March 14, 2022. The table below summarizes the four pending

proceedings:

                                                      Filing        Institution      Final Written
     IPR No.                Petitioner
                                                       Date             Date            Decision
 IPR2020-01389      Owens Corning Roofing        Jul. 29, 2020     Feb. 18, 2021     Feb. 18, 2022
                    & Asphalt, LLC
 IPR2021-00192      GAF Materials LLC            Nov. 10, 2020     May 25, 2021      May 25, 2022

 IPR2021-01181      Atlas Roofing                Jun. 24, 2021     Pending           Pending
                    Corporation
 IPR2021-01183      Epilay, Inc.                 Jun. 24, 2021     Pending           Pending


       More than ten months ago, Defendants filed a Motion to Stay Pending Resolution of the

Related ITC Proceeding and/or Inter Partes Review of the Patent-In-Suit. See Dkt. No. 22

(September 17, 2020 “Motion to Stay”). Multiple district courts have elected to stay the cases




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involving the ’482 Patent in view of one or more of these pending IPRs. See Dkt. Nos. 49, 63.

Defendant’s motion remains unresolved.


Dated: July 22, 2021                            FISH & RICHARDSON P.C.



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                                                Attorneys for Defendants
                                                IKO Industries, Inc. and IKO Industries Ltd.



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document has been served on July 22,

2021, to all counsel of record who are deemed to have consented to electronic service via the

Court’s CM/ECF system.



                                                    /s/ Michael R. Ellis
                                                    Michael R. Ellis




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